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County: Polk
                                                                      Voter Profile Report                                                   Date : 12/16/2020


                                                                            Voter ID :

Voter Information

Voter ID            Last Name                          First Name                        Middle Name           Suffix       DOB

                    BENSLEY                            JESSICA                           DAWN

Registration Information

 Party                 Democrat                        Status                   Active                 Reasons

Last Voted Date        11/03/2020                      Original Reg. Date       08/26/2009             Effective Registration Date    12/04/2018


Miscellaneous Information

Language                                               Gender          Female                          Assistance

                    Former Felon-Rights restored, Per Sec Of State.
Comments


Residence Address

Mailing Address

Absentee Addresses

Absentee Type                        Address

Election Specific
Election Specific
Election Specific


Petitions Number                     Petition Title                                                                                  Valid Signatures

Move History
Effective Date                       Residence Address
  11/14/2012
  01/17/2014
  05/08/2017
Alternate Names




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                                                                                Voter ID :
Alternate Names
Last Name                          First Name                            Middle Name                        Suffix

Voting Histories
Date                               Election Description                                        Election Participated

   11/03/2020                      POLK COUNTY GENERAL ELECTION                                VOTED
   06/02/2020                      Polk County Primary Election                                VOTED
   11/05/2019                      POLK COUNTY CITY & SCHOOL ELECTION                          VOTED
   03/05/2019                      Local Option Sales Tax Special Election                     VOTED
   11/08/2016                      Polk County General Election                                VOTED

Custom Information

Contact Information

Home Phone      515-554-0888


Audit Log

User Name          Modified Date     Effective Date               Description                      Old Value             New Value

szenti             08/24/2020        12/04/2018             New Absentee Request                                         New Absentee Request
jfitzgerald        05/05/2020        01/01/0001             Correspondence Notice                                        Voter Registration Acknowledgement
                                                                                                                         Printed/Extracted
jfitzgerald        05/04/2020        12/04/2018             New Absentee Request                                         New Absentee Request
jfitzgerald        05/04/2020        01/01/0001             Correspondence Notice                                        Voter Registration Card Requested
jfitzgerald        05/04/2020        12/04/2018             Transaction Source               State Registrar of Voters   Mail-in Registration
jfitzgerald        05/04/2020        12/04/2018             Political Party                  No Party                    Democrat
mhammer            12/06/2019        01/01/0001             Correspondence Notice                                        Registration Cancellation Notification
                                                                                                                         Printed/Extracted.
mhammer            12/06/2019        01/01/0001             Correspondence Notice                                        Registration Cancellation Notification
                                                                                                                         Requested
jchiodo            09/16/2019        09/16/2019             Split
zpaletta           02/15/2019        12/04/2018             New Absentee Request                                         New Absentee Request
rmoody             12/05/2018        01/01/0001             Correspondence Notice                                        Voter Registration Acknowledgement
                                                                                                                         Printed/Extracted
rmoody             12/04/2018        12/04/2018             Voter Status                     Cancelled                   Active
rmoody             12/04/2018        01/01/0001             Correspondence Notice                                        Voter Registration Card Requested
rmoody             12/04/2018        12/04/2018             Effective Date                   11/14/2012                  12/04/2018
rmoody             12/04/2018        12/04/2018             Voter Status Reason              Convicted Felon


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                                                               Voter ID :
ssteeve           09/21/2017   01/01/0001   Correspondence Notice                                             Registration Cancellation Notification
                                                                                                              Printed/Extracted.
ssteeve           08/01/2017   11/14/2012   Voter Status                    Active                            Cancelled
ssteeve           08/01/2017   11/14/2012   Voter Status Reason                                               Convicted Felon
ssteeve           08/01/2017   11/14/2012   Transaction Source              Department of Transportation      State Registrar of Voters
ssteeve           08/01/2017   01/01/0001   Correspondence Notice                                             Registration Cancellation Notification
                                                                                                              Requested
mamadeo           05/08/2017   01/01/0001   Correspondence Notice                                             Voter Registration Card
                                                                                                              Printed/Extracted.
mamadeo           05/08/2017   01/01/0001   Correspondence Notice                                             Voter Registration Card Requested
mamadeo           05/08/2017   11/14/2012   Political Party                 Democrat                          No Party
mamadeo           05/08/2017   11/14/2012   Split                           075.0                             003.0
mamadeo           05/08/2017   11/14/2012   Residential Address             Std:                              Std:
                                                                                                              MOINES, IA 50317-4245
mamadeo           05/08/2017   11/14/2012   District                        Des Moines 075                    Des Moines 003
mamadeo           05/08/2017   11/14/2012   Transaction Source              NCOA                              Department of Transportation
jchiodo           02/11/2014   01/01/0001   Correspondence Notice                                             Voter Registration Card
                                                                                                              Printed/Extracted.
jchiodo           02/11/2014   02/11/2014   Correspondence Notice                                             Voter Registration Card Requested
mamadeo           01/17/2014   01/17/2014   Notification
mamadeo           01/17/2014   11/14/2012   Transaction Source              Election Day                      NCOA
mamadeo           01/17/2014   11/14/2012   Residential Address             Std:                              Std:
                                                                                                              DES MOINES, IA 50320-1835
mamadeo           01/17/2014   11/14/2012   Split                           078.0                             075.0
mamadeo           01/17/2014   11/14/2012   District                        Des Moines 078                    Des Moines 075
hbouten           11/26/2012   01/01/0001   Correspondence Notice                                             Printed/Extracted.
hbouten           11/26/2012   01/01/0001   Correspondence Notice                                             Printed/Extracted.
hbouten           11/14/2012   11/14/2012   Residential Address             Std:                              Std:
                                                                                                              MOINES, IA 50315
hbouten           11/14/2012   11/14/2012   Voter Status Reason             Inactive to Cancelled
hbouten           11/14/2012   11/14/2012   District                        Des Moines 018                    Des Moines 078
hbouten           11/14/2012   11/14/2012   Effective Date                  08/26/2009                        11/14/2012
hbouten           11/14/2012   01/01/0001   Correspondence Notice                                             Voter Registration Card Requested
hbouten           11/14/2012   11/14/2012   Source of Update                Duplicate Registration Received   Administrative
hbouten           11/14/2012   11/14/2012   Transaction Source              Administrative Action             Election Day
hbouten           11/14/2012   11/14/2012   Voter Status                    Cancelled                         Active
hbouten           11/14/2012   11/14/2012   Split                           018.0                             078.0

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                                                               Voter ID :
hbouten           11/14/2012   11/14/2012   Election Day Registration                                        11/6/2012
jchiodo           03/05/2012   03/05/2012   Split                           Districts Added: 750000511
jchiodo           01/23/2012   01/23/2012   Split                           Districts Added: 6403
mscione           12/29/2011   12/29/2011   Split                           040.0                            018.0
mscione           12/29/2011   12/29/2011   District                        DM 040                           DM 018
jchiodo           12/19/2011   12/19/2011   Split                           Districts Added: 6404, 6398,
                                                                            100000153, 100000073
rmoody            01/08/2010   01/01/0001   Correspondence Notice                                            No Activity in 4 Years
                                                                                                             Printed/Extracted.
rmoody            01/08/2010   08/26/2009   Voter Status Reason             Returned Mail                    Inactive to Cancelled
rmoody            01/08/2010   08/26/2009   Transaction Source              Returned Mail                    Administrative Action
rmoody            01/08/2010   08/26/2009   Voter Status                    Inactive                         Cancelled
rmoody            01/08/2010   01/01/0001   Correspondence Notice                                            No Activity in 4 Years Requested
jburke            09/14/2009   08/26/2009   Source of Update                                                 Duplicate Registration Received
jburke            09/14/2009   08/26/2009   Transaction Source              In-Office / Registration Drive   Returned Mail
jburke            09/14/2009   08/26/2009   Voter Status                    Active                           Inactive
jburke            09/14/2009   08/26/2009   Voter Status Reason                                              Returned Mail
balthaus          08/31/2009   08/31/2009   Correspondence Notice                                            Printed/Extracted.
balthaus          08/26/2009   08/26/2009   New Voter Record                                                 New voter record created
balthaus          08/26/2009   08/26/2009   Correspondence Notice                                            Voter Registration Card Requested




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